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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                              CASE NO. 1:88-cr-01007-MP-AK

WILLIE BUD REED, JR.,

      Defendant.
________________________________/

                                            ORDER

       This matter is before the Court on Doc. 1173, Motion for Relief from Judgment, filed by

Defendant Willie Reed. In his motion, Defendant Reed petitions the Court to reopen his

previously dismissed Rule 60(b) motion, Doc. 887, and his Motion to Vacate under § 2255, Doc.

636. Although Defendant goes to great lengths to fit his motion within the language of Rule

60(b), it is clear that Defendant is again attempting to bring a substantive claim that was

presented in a prior application, thus rendering the instant motion an unauthorized second or

successive habeas corpus application. See Harris v. United States, 367 F.3d 74, 80-81 (2d Cir.

2004)(dismissing petitioner’s Rule 60(b) motion alleging “excusable neglect” as successive

habeas corpus application where it sought relief from judgment because habeas counsel had

failed to raise a Sixth Amendment claim); Rodwell v. Pepe, 324 F.3d 66, 69 (1st Cir.

2003)(dismissing petitioner’s Rule 60(b) motion alleging “newly discovered evidence”); Dunlap

v. Litscher, 301 F.3d 873, 876 (7th Cir. 2002)(dismissing petitioner’s Rule 60(b) motion raising

other “reason justifying relief”). Because Defendant’s motion is an unauthorized second or

successive habeas petition, the Court is without jurisdiction to hear it. Gonzalez v. Crosby, 545

U.S. 524, 125 S.Ct. 2641 (2005). Accordingly, Defendant Reed’s Motion for Relief from

Judgment, Doc. 1173, is dismissed for lack of jurisdiction.
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        DONE AND ORDERED this         26th day of June, 2007


                                    s/Maurice M. Paul
                               Maurice M. Paul, Senior District Judge




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